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 1                                                              The Honorable Robert S. Lasnik
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                           UNITED STATES DISTRICT COURT FOR THE
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 8
 9
      UNITED STATES OF AMERICA,                       NO. CR20-096 RSL
10
                               Plaintiff,
11                                                    PROTECTIVE ORDER REGARDING
                                                      DISCOVERY MATERIALS
12
                          v.
13
14    JAQUAN KEON JACKSON,
15                             Defendant.
16
17          This matter came before the Court on the government’s Motion for Protective
18 Order. For the reasons stated in the government’s motion, the Court finds that good
19 cause has been shown and orders as follows:
20          1.      This Protective Order governs all police reports produced by the
21 government in the above-captioned case that pertain to past arrests of the 911 caller,
22 identified in the Complaint as “A.R.H.” This material is referred to hereinafter as
23 “Protected Material.”
24          2.      The United States will make copies of the Protected Material available to
25 defense counsel. Possession of copies of the Protected Material is limited to the attorneys
26 of record, investigators, paralegals, law clerks, experts and assistants for the attorneys of
27 record (hereinafter collectively referred to as members of the defense team).
28

     Protective Order Regarding Discovery Material                         UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     U.S. v. Jackson, CR20-096 RSL - 1
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
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 1          3.      The attorneys of record and members of the defense team may display and
 2 review the Protected Material with the defendant, but may not leave any Protected
 3 Material with him.
 4          4.      Providing copies of the Protected Material to persons outside of the defense
 5 team is prohibited, and the defense team shall not provide copies of the Protected
 6 Material to persons outside of the defense team.
 7          5.      The defense team will protect, retain, and destroy copies of the Protected
 8 Material in accordance with their office’s file retention policies.
 9          6.      Nothing in this order should be construed as imposing any discovery
10 obligations on the government or the defendant that are different from those imposed by
11 case law and Rule 16 of the Federal Rules of Criminal Procedure, and the Local Criminal
12 Rules.
13          7.      Any Protected Material that is filed with the Court in connection with pre-
14 trial motions, trial, sentencing, or other matter before this Court, shall be filed under seal
15 and shall remain sealed until otherwise ordered by this Court. This does not entitle either
16 party to seal their filings as a matter of course. The parties are required to comply in all
17 respects to the relevant local and federal rules of criminal procedure pertaining to the
18 sealing of court documents.
19          8.      The provisions of this Order shall not terminate at the conclusion of this
20 prosecution.
21          9.      Any violation of any term or condition of this Order by the Defendant, his
22 attorneys of record, any member of the defense team, or any attorney for the United
23 States Attorney’s Office for the Western District of Washington, may be held in contempt
24 of court, and/or may be subject to monetary or other sanctions as deemed appropriate by
25 this Court.
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27 //
28 //

     Protective Order Regarding Discovery Material                          UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
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                                                                                   (206) 553-7970
               Case 2:20-cr-00096-RSL Document 51 Filed 09/21/20 Page 3 of 3




 1          10.     If the Defendant violates any term or condition of this Order, the United
 2 States reserves its right to seek a sentencing enhancement for obstruction of justice, or to
 3 file any criminal charges relating to the Defendant’s violation.
 4
 5
 6          DATED this 21st day of September, 2020.
 7
 8
 9                                                     A
                                                       Robert S. Lasnik
10                                                     United States District Judge
11
12
13 Presented by:
14
   /s/ Jessica M. Manca
15 JESSICA M. MANCA
16 Assistant United States Attorney
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     Protective Order Regarding Discovery Material                         UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     U.S. v. Jackson, CR20-096 RSL - 3
                                                                            SEATTLE, WASHINGTON 98101
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